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                  EXHIBIT A
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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION

    In re:                                             Case No. 3:16-bk-02230-PMG

    RMS TITANIC, INC., et al., 1                       Chapter 11 (Jointly Administered)

                             Debtors.


                          STIPULATION TO FILE A JOINT 9019 MOTION

       The below parties settled and resolved all claims of the New York State Department of
Taxation and Finance (the “Department”) in the above-styled Chapter 11 cases on the following
terms:

        1.      The Department’s Claim 2-1, as amended by Claims 2-2 and 2-3 filed against
Premier Exhibitions, Inc. (“PRXI”) is hereby amended and shall be an allowed unsecured
priority tax claim against PRXI. pursuant to 11 U.S.C.§ 507(a)(8) in the total amount of
$251,662.05.

        2.     The Department’s Claim 1-1 as amended by Claim 1-2 filed against RMS Titanic,
Inc. (“RMST”) shall be allowed as follows: The Department shall have an allowed general
unsecured claim in the amount of $281.11 against RMST and shall have an allowed priority tax
claim against RMST pursuant to 11 U.S.C. § 507(a)(8) in the total amount of $1,036.73.

     3.       The Department’s Claim 1-1 filed against Premier Exhibitions Management, LLC
(“PEM”) shall be an allowed general unsecured claim against PEM in the amount of $9,502.44

        4.      This settlement is without prejudice to the right of the Department to object to the
treatment of any of the above-allowed claims under any plan of reorganization submitted in this
case or the right to oppose confirmation thereof.

       5.      Except as set forth above, the Department shall have no further claims against the
Debtors’ estates.

             6.      This settlement is subject to the Bankruptcy Court’s approval.




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 The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions Management, LLC
(3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075); Premier
Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs Unearthed Corp. (7309). The
Debtors’ service address is 3045 Kingston Court, Suite I, Peachtree Corners, Georgia 30071.
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       7.      Upon Approval of this Stipulation by the Bankruptcy Court, Debtor Premier
Exhibitions, Inc. shall withdraw, with prejudice, the petition it filed with the New York State
Division of Tax Appeals (DTA #827007).




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Premier Exhibitions, Inc.


By
Its: President & CEO
Date: March 1, 2018


RMS Titanic, Inc.


By
Its:  President
Date: March 1, 2018


Premier Exhibitions Management, LLC

By: Premier Exhibitions, Inc.
Its: Managing Member


By
Its:  President & CEO
Date: March 1, 2018

New York State Department of Taxation and Finance

By:   s/Norman P. Fivel, Assistant Attorney General
Its:  Attorney of Record in this Bankruptcy Case
Date: February 27, 2018




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